Case 1:97-cr-00025-DHB-BKE Document 387 Filed 08/13/19 Page 1of1

GASD First Step Act Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(1)(B) Page, |, of 2(Page 2 Not for Public Disclosure)

 

 

 

UNITED STATES DISTRICT Cot

for the

Southern District of Georgia
Augusta Division

 

 

United States of America

v. )
) Case No: CRI197-00025-001
Ricky Marcus Curry )
) USMNo: 09857-021
Date of Original Judgment: February 19, 1999)
Date of Previous Amended Judgment: February 11, 2015 ) Richard E. Miley.
(Use Date of Last Amended Judgment if Any) Defendant's Attorney

ORDER REGARDING MOTION FOR SENTENCE REDUCTION
PURSUANT TO 18 U.S.C. § 3582(c)(1)(B)

Upon motion of [X]the defendant [] the Director of the Bureau of Prisons [_] the court under 18 U.S.C.

§ 3582(c)(1)(B) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the First Step Act of 2018 pursuant to Pub. L. No. 115-391, and
having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10 and the
sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,

IT IS ORDERED that the motion ts:
DENIED, [JGRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of months is reduced to .

(Complete Parts I and II of Page 2 when motion is granted)

Except as otherwise provided, all provisions of the judgment dated Eebruary 19, 1999 shall remain in effect.

ITISSOORDERED. _ a, / Zy _
Order Date: huge (3, FEF | LbL, e

Judge's signature

 

 

Effective Date: Dudley H. Bowen, Jr.
United States District Judge

(if different from order date) Printed name and title
